Memorandum

Case 8:15-cr-00063-.]LS Document 3 Filed 06/17/15 Page 1 of 1 Page |D #:8

 

 

Suhjecl:

Dale:
June 16, 2015

UNITED STATES v 'I`ODD CHRISTIAN

 

 

HARTMAN
To; From:
TERRY NAFISI IVY A. WANG m
Clerk, United States District Court Assistant United States Attorney -' ¢.,;'_> w
Central District of Ca|ifornia Criminal Division f §§ §
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. . . _ >"“" l'“
F or purposes of determmmg whether the above-referenced matter, being filed on June:l 7, §01§: § g
:»"1
(a) should be assigned to the Honorable André Birotte Jr., it ii §§ 77
. ) §§ s
|Z| is l _,
|I is not
a matter that was pending in the United States Attomey’s Offlce on or before August 8, 2014, the date
the Honorable André Birotte Jr. resigned from his position as the United States Attomey for the Central
District of Califomia.
(b) should be assigned to the Honorable Michael W. Fitzgerald, it

El is
is not

(l) a matter pending in the Nationa] Security Section or one in which the National Security Section has
previously been involved; or (2) a matter in which current Assistant United States Attomey Patrick
Fitzgeralcl is or has been personally involved or on which he has personally consulted while employed in

the USAO.
IVY A. W ( )

Assistant U ' d States Attorney
Criminal Division

 

